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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

ALONZO G. DAVISON,                                   )
                                                     )
               Plaintiff,                            )
                                                     )
vs.                                                  )      Case No. CIV-16 - 374 - HE
                                                     )
HECTOR RIOS, et al.                                  )
         Defendants.                                 )

      DEFENDANTS HECTOR RIOS AND GEO, INC.’S MOTION TO DISMISS

        Comes now the defendants Hector Rios and Geo, Inc. and moves this Court to dismiss

them from this action pursuant to FRCP 12(B)(6) because plaintiff has failed to allege

personal participation by either defendant and has failed to allege facts sufficient to constitute

deliberate indifference to a serious medical need.

                                      INTRODUCTION

        Plaintiff, appearing pro se, alleges that the care are treatment he received while an

inmate at the Lawton Correctional Facility was in violation of his Eighth Amendment right

to be free from cruel and unusual punishment. Specifically, he alleges that the defendants,

acting jointly, delayed a surgery to remove his gallbladder for seven months and acted with

deliberate indifference to his pain and suffering.

        Plaintiff also alleges that the conditions of confinement at LCF are deficient.

Specifically, that the kitchen is unsanitary and the food is not cooked properly and is not

nutritious. He also alleges that the prison is overcrowded.



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         Plaintiff asserts that defendant Hector Rios Jr. “is responsible for the daily operations

of the Lawton Correctional Facility, as well as arranging transportation for serious medical

care for its inmates outside of prison.” [Doc. 7 at 8]. Plaintiff asserts that “GEO Inc. is the

owner of LCF and establishes policy, practices, and/or customs in regards to medical care

generally and arranging for serious medical care for its inmates outside of prison.” [Doc. 7

at 9].

                                  STANDARD OF REVIEW

         A complaint may be dismissed upon motion for the “failure to state a claim upon

which relief can be granted.” Fed.R.Civ.P 12(b)(6). All well-pleaded facts are accepted as

true, and viewed in a light most favorable to the non-moving party. Beedle v. Wilson, 422

F.3d 1059, 1063 (10th Cir. 2005). Factual allegations in the complaint must be sufficient to

“raise a right to relief above the speculative level.” Bell Atl. Corp. v. Twombley, 550 U.S.

544, 555 (10th Cir. 2007). When factual allegations in a complaint fail to “raise a claim for

entitlement of relief” the claim should be dismissed. Id. at 558 (citations omitted). To

survive a motion to dismiss, the plaintiff cannot merely give broad “labels and conclusions,

and a formulaic recitation of the elements of a cause of action” but instead must plead a set

of facts that at least makes the claims plausible, and raises the “right of relief above the

speculative level.” Id. While a court must accept allegations in a complaint as true, this

principal does not apply to legal conclusions, conclusory statements, or recitals of the

elements of a cause of action. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)



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                                      PROPOSITION I

PLAINTIFF HAS FAILED TO ALLEGE A CONSTITUTIONAL DEPRIVATION

            FOR A DELAY IN THE TREATMENT OF HIS GALLBLADDER

          Defendants Rios and GEO Inc. adopt by reference Proposition II.A.1 and 2 of

Defendant Correct Care Solutions Motion to Dismiss. [Doc. 22] and reasserts said arguments

herein.

                                      PROPOSITION II

   PLAINTIFF HAS FAILED TO ALLEGE PERSONAL PARTICIPATION BY
     DEFENDANT RIOS IN ANY ALLEGED CONSTITUTIONAL RIGHTS
                                    VIOLATION.
      “Personal participation is an essential allegation in a §1983 claim.” Mitchell v.

Maynard, 80F.3d 1433, 1441 (10th Cir. 1996) (citations, quotation marks and brackets

omitted).

          In Blinder, Robinson & Co. v. U.S.S.E.C., 748 F.2d 1415, 1419 (10th Cir. 1984), the

Tenth Circuit held that “to state a constitutional claim, plaintiff must do more than simply

state a conclusion or engage in ‘artful pleading.’ ...A Plaintiff must state a compensable claim

for relief that details the facts forming the basis for the claim.” In Keeper v. King, 130 F.3d

1309, 1314 (8th Cir. 1997), the Court said that “ a general responsibility for supervisory

operations of a prison is insufficient to establish the personal involvement required to support

liability.” Thus, a claim of respondeat superior is not proper under 42 U.S.C. § 1983. Under

§1983, in order to state a claim of supervisor liability a plaintiff must make a showing of an

“affirmative link between the constitutional violation and either the supervisors personal

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participation, his exercise of control or direction, or his failure to supervise.” Green v.

Jackson, 108 F.3d 1296, 1302 (10th Cir. 2008). Supervisory status alone is not sufficient to

establish liability in a § 1983 claim. Duffield v. Jackson, 545 F.3d 1234, 1239 (10th Cir.

2008). A plaintiff cannot establish liability under §1983 merely by showing that the

defendant was in charge of others who may have committed a constitutional violation.

Instead, “the plaintiff must establish a deliberate, intentional act by the supervisor to violate

constitutional rights.” Dodds v. Richardson, 614 F.3d 1185, 1195 (10th Cir. 2010).

       In relation to a claim for interference with medical care, the Tenth Circuit Court held

in Twyman v. Crisp, 584 F.2d 352 (10 th Cir., 1978) that the official was not liable when the

inmate did not establish that he directly participated in the alleged contravention of medical

orders. Additionally, “denial of a grievance, by itself without any connection to the violation

of constitutional rights alleged by plaintiff, does not establish personal participation under

§ 1983.” Gallagher v. Shelton, 587 F.3d 1063, 1069 (10th Cir. 2009).

       Plaintiff attempts to personally link defendant Rios to the alleged violation of his

Eight Amendment right to be free from cruel and unusual in paragraph 68 of his amended

complaint [Doc. 7], in which he states:

       The failure of defendant Hector Rios Jr. to take action to curb the known pattern of
       the denial-delay in medical care for inmates at Lawton Correctional Facility with
       serious medical needs, by Shirley Stouffer and other medical personnel constitute
       deliberate indifference to Plaintiffs and other prisoner's safety. It contributed to and
       proximately caused the above-described violation of Eighth Amendment Rights.
       Furthermore, Defendant Rios was made aware of Plaintiff s suffering through a
       Request to Staff and a Grievance submitted directly to him by Plaintiff, in regards to
       his medical condition, and chose to disregard it when relief was readily available. In
       conclusion, the delay in treatment has caused Plaintiff additional problems with his

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       stomach, such as defecating on himself, because he was unable to make it to the
       restroom on time.

       This statement fails to allege an affirmative link between defendant Rios and

plaintiff’s actual delay in treatment. Plaintiff does not even allege that defendant Rios denied

a grievance, which would itself be insufficient under Gallagher to state personal

participation, rather he alleges only that Rios “disregarded” a grievance submitted to him.

Additionally, taking as true plaintiff’s statements in paragraphs 56 and 57 of his amended

complaint [Doc. 7] that:

       56. Defendant Shirley Stouffer is responsible for medical care generally at
       Lawton Correctional Facility and arranging for care of serious medical needs
       for its inmates outside of prison.

       57. Defendant Hector Rios Jr. is responsible for the daily operations of the Lawton
       Correctional Facility, as well as arranging transportation for serious medical
       care for its inmates outside of prison.

it is clear that defendant Rios was not even the proper party to answer plaintiff’s medical

grievances.   Attaching liability to defendant Rios for the actions or inactions of his

subordinates in relation to plaintiff’s medical treatment would rely on a theory of respondeat

superior, which is improper for a 1983 claim. Keeper, supra.

       In Paragraphs 52-55 of Plaintiff’s Amended Complaint [Id.] Plaintiff makes several

general statements about the food service at LCF. Said allegations are conclusory at best.

In Blinder, Robinson & Co. v. U.S.S.E.C., 748 F.2d 1415, 1419 (10th Cir. 1984), the Tenth

Circuit held that “to state a constitutional claim, plaintiff must do more than simply state a

conclusion or engage in ‘artful pleading.’ ...A Plaintiff must state a compensable claim for


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relief that details the facts forming the basis for the claim.” Plaintiff makes no allegation in

his amended complaint that defendant Rios is aware of, or responsible for, any alleged

unsanitary conditions or practices at the LCF kitchen facilities, nor does plaintiff make any

allegation that defendant Rios is affirmatively linked to any issue of overcrowding at the

facility. He has thus failed to allege defendant Rios’s personal participation in these claims.

       In Sanaah v. Howell, 384 Fed. Appx. 737, 740 (10th Cir. 2010) the Court held:

       After a careful review of the record, we agree with the district court that
       Sanaah failed to "allege any plausible individual actions attributable" to
       Arellano, Grover, or Zavaras that caused his alleged injuries. R. Vol. 1, Doc.
       75 at 7. There is no allegation any of the three repaired the showerhead or
       participated in Sanaah's medical care. And there are only general and
       conclusory allegations, unsupported by facts, that they showed deliberate
       indifference by failing to supervise or train their employees. Sanaah has
       thus failed to allege sufficient facts to state a claim against Arellano, Grover,
       or Zavaras. (Emphasis added)

Supervisory status alone is not sufficient to establish liability in a § 1983 claim. Duffield v.

Jackson, 545 F.3d 1234, 1239 (10th Cir. 2008). There, the plaintiff alleged in his complaint

suspicions that the defendant maintained an unwritten policy against referring inmates to

specialists. Id. The Court held that it was not error for the Magistrate to dismiss as to that

defendant. Id.

       Plaintiff has failed to establish defendant Rios’s personal participation in any of the

alleged constitutional violations outlined in his amended complaint and defendant Rios

should be dismissed from this action.




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                                    PROPOSITION III

   PLAINTIFF’S ALLEGATIONS OF PERSONAL PARTICIPATION BY
DEFENDANT GEO INC. ARE GROUNDED IN NOTHING BUT SPECULATION
                  AND SHOULD BE DISMISSED.

       To establish Defendant GEO’s liability under §1983, Plaintiff must establish three

basic elements: (1) an official policy or custom of Defendant GEO; (2) that caused a

violation of Plaintiff’s federal right(s); and (3) “was enacted or maintained with deliberate

indifference to an almost inevitable” federal right(s) violation. See Schneider v. City of

Grand Junction Police Dep’t, 717 F.3d 760, 769-71 (10th Cir. 2013). Though plaintiff

provides “a formulaic recitation of the elements of a cause of action” for a 1983 claim against

a corporate entity, his claims are insufficient to allege personal participation in plaintiff’s

delay in medical treatment beyond the speculative level and should be dismissed pursuant to

Iqbal and FRCP 12(B)(6).

       Plaintiff attempts to attach personal participation to GEO inc. in paragraph 61 of his

amended complaint [Doc. 7] when he states: “GEO Inc. is the owner of L.C.F. and

establishes policy, practices, and/or customs in regards to medical care generally and

arranging for serious medical care for its inmates outside of prison.” He then elaborates in

paragraph 71 stating:

       The failure of defendant GEO INC to provide timely treatment to the Plaintiff
       was manifested once they became aware of Plaintiff’s serious medical need
       that was diagnosed by a physician as mandating treatment. According to
       Oklahoma Department of Corrections (ODOC) Policy and Procedure and the
       contract between GEO and ODOC both would know within 24 hours if an
       inmate has been hospitalized and would know all pertinent information

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       regarding said hospitalization. The Policy, Practice, and/or Custom at L.C.F.
       is to delay inmate's in receiving treatment for serious medical needs due to
       financial consideration, and not based on medical circumstances. This Policy,
       Practice, an/or Custom is the proximate cause of the Plaintiffs suffering during
       the 200 plus days he spent in agony awaiting surgery. This constitutes
       deliberate indifference to the serious medical need of the Plaintiff, and
       represents cruel and unusual punishment in violation of the Eighth
       Amendment of the United States Constitution. Furthermore, the delay in
       treatment has caused Plaintiff additional problems with his stomach, such as
       defecating on himself, because he was unable to make it to the restroom on
       time. The above-mentioned Policy, Practice, an/or Custom is detrimental to the
       safety of the Plaintiff and other inmates at the Lawton Correctional Facility.

       Plaintiff produces nothing outside of these conclusory allegations in his petition to

support the idea that GEO has a written or unwritten policy, practice, or custom to delay

necessary medical treatment. In Duffield v. Jackson, 545 F.3d 1234 (10th Cir. 2008) the

plaintiff alleged in his complaint suspicions that the defendant maintained an unwritten

policy against referring inmates to specialists. The Court held that it was not error for the

Magistrate to find that plaintiff’s allegations “were anything more than speculative,

especially since (the plaintiff) did receive a specialist consult” and dismiss as to that

defendant. Id. at 1239. Plaintiff’s claims against GEO in this case are no less speculative

and unsupported than the claims in Duffield and should be dismissed for the same reason.

                                      CONCLUSION

       Plaintiff’s amended complaint fails to allege that any of the defendants treated him

with deliberate indifference to his medical needs. In addition, plaintiff’s amended complaint

fails to properly allege personal participation by defendant Rios or defendant GEO Inc.




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Defendants Rios and GEO should be dismissed from this action.

                                          Respectfully submitted,


                                             /S/ Don G. Pope
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                                          Attorney for Defendants Rios and GEO

                            CERTIFICATE OF SERVICE

       On the 16 th day of August, 2016, a true and correct copy of the above and foregoing

instrument was transmitted for filing via ECF and electronically transmitted to:

       Alexandra G Ah Loy
       Austin J Young
       Attorneys for Defendant Stouffer and Correct Care Solutions

       Chase H. Woodley
       Attorney for Defendants Buddy Honaker and Robert Patton

and served via U.S. Mail, postage prepaid, on the following person who is not a registered

participant of the ECF System:

       Alonzo Davison, DOC # 198828
       Lawton Correctional Facility
       8607 SE Flowermound Rd.
       Lawton, OK 73501
       Plaintiff, pro se
                                                        s/ Don G. Pope
                                                        Don G. Pope



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